Case 6:16-cv-00970-RBD-TBS Document 89 Filed 06/11/18 Page 1 of 1 PageID 1274



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

    UNITED STATES OF AMERICA,
    BARBARA BERNIER and ESE LOVE,

          Plaintiffs,

    v.                                                 Case No: 6:16-cv-970-Orl-37TBS

    INFILAW CORPORATION, CHARLOTTE
    SCHOOL OF LAW, LLC, AMERICAN
    BAR ASSOCIATION and AMERICAN
    BAR ASSOCIATION,

          Defendants.


                                          ORDER

          Defendant American Bar Association’s Motion for Extension of Time to File

    Response to Complaint (Doc. 85), is DENIED as moot. The ABA filed its motion to

    dismiss on May 31, 2018 (Doc. 86).

          DONE and ORDERED in Orlando, Florida on June 11, 2018.




    Copies furnished to:

          Counsel of Record
          Unrepresented Parties
